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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP,                )
BI-LEVEL PAP, AND MECHANICAL                 )        Master Docket: Misc. No. 21-1230
VENTILATOR PRODUCTS                          )
LITIGATION,                                  )        MDL No. 3014
                                             )
This Document Relates to: All Actions        )

        Joint Proposed Agenda for November 9, 2023 Status Conference: Philips MDL 3014

  1. Discovery Update/Status of Proceedings with Special Master Katz;

  2. Proposed Deadlines for Personal Injury and Medical Monitoring Tracks;

  3. Motion to Extend Deadline for Objections to Reports and Recommendations on Motions to Dismiss;

  4. Deadline for Findings of Fact and Conclusions of Law (Dispute Regarding KPNV Personal
     Jurisdiction);

  5. Update on State Court Litigation;

  6. Update on Census Registry; and

  7. LDC Update.

Dated: November 7, 2023                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on this 7th day of November, 2023 and is available for download by all

counsel of record.



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